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                            "BR. ·1·n·,
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                                                                                    DISC-00473
          Case 8:17-cr-00445-MSS-CPT Document 150-20 Filed 12/15/17 Page 2 of 59 PageID 497




                        BRIDGE LOG BOOK


s. s.        fJ\ J--r Y KT C. \<O\}\J              of - - - - - - - - -
M.V.

                                      ON A VOYAGE


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To _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Commanded by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Ending _ _ __



Kept by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                     DISC-00474
            Case 8:17-cr-00445-MSS-CPT Document 150-20 Filed 12/15/17 Page 3 of 59 PageID 498




                                                             ~XJ~/r_ FA TL-tfow
                                               GENERAL PARTIClJLARS
 Built al   ( lv [ I}[fJ                            Date _ _J_q:__&_8
                                                                   _ _ _ _ _ By _ _ __
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l lomc port
Registered number          _K_-_o_o_-_<.t::L-'_,7-'---'L=------------
 Radio call and ship's numbers       . ) II C C b_....,_ _ _ _ __
Gross Tonnage              J/t8
Ncl tonnage

lkadweight tonnage            '<- D~Z P'l 7
Length, overall              ·7.r. S"°/ /t') T f
l,cngth, between perpendiculars
fknn moulded                   'L
                    - -J'D-' - - - - - - - - - ·
Depth moulded              .), J_L _ _ _ _ _
Cubic capacity: Bale                   _ _ _ _ _ _ _ _ Grain
L:1stclrydock       C .lRAmAa BAHIA t2£ L!-JJ CAL tJUfl ( ()or-J:ZtvTc,Atv lsf/JV6~
Last fumigated _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
Dcratization certificate issued al
·r.1il shafl last drawn al _ __
Safely Radiotelegraph certificate e x p i r e s - - - - - - - - - - - - - - - - - - - - - - - - - - - - ·
Fire-detecting system tested               }
l:3ottles and portables weighed _ _ _
Safety equipment certificate e x p i r e s - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
Maximum draft loaded: Forward          _ _ _ _ _ _ _ Aft          _ _ _ _ Mean
                                                               (Reclass Survey due)
Load-line certificate endorsed - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
Drnn: Summer with          __if:_:_fJ_:.1_,_/l\_.__,__7-"'J_·____ freeboard _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Engine }
Goilers
                   Type         /VIA
                   Diameter
Propeller }
            }      Pitch    C 0(1) 7R. O Ll /) 6l[ /?LT(. fl             r'le O f'EL l fie
Horsepower         I o6o__}j_L__ _ __
Brnke horsepower _ __
Lyle gun (fired)
                      DATE /        7TII /'()M_~o/ 7

                                                FIRE AND BOAT DRILL
LATITUDE                                        LONGITUDE                                    DATE

LATITUDE                                        LONGITUDE                                    DATE

LATITUDE ------                                 LONGITUDE                                    DATE

LATITUDE                                        LONGITUDE                                    DATE

LATITUDE                                        LONGITUDE                                    DATE

LATITUDE                                        LONGITUDE                                    DATE

LATITUDE                                        LONGITUDE                                    DATE




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    LOG oF Tim                       s. s.} N\./t \ ~1: c.~w
                                    M.V.
                                                                                                                                                             FROM - - - - - - - - - - - - - - - - -


                                                                                                                                                                                                 GYRO         8Ti\NDARD
    110\/R           L()(,
                                             COURSE                                              WIND                             HAROMl•'.'l'ER
                                                                                                                                                              TEMPER!\Tl JR E
                                                                                                                                                                                                COMPASS        COMl';\SS        S()llND!NC,S
                                    STi\NI )/\JU)   C,YRO     STEERING             DlRECTlON                         FORCJ•:                                     i\fR              IV /\TJ<:R    lcRIWR       I lliVI/\TlON
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    Midnight to_                                     AM.                                                                                                                                                                                   --·
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                     DRINKING WATER                                           1                                               /     :i                                         I
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                Case 8:17-cr-00445-MSS-CPT Document 150-20 Filed 12/15/17 Page 5 of 59 PageID 500




                                                                        REMARKS


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                                                        ENGINE PERFORMANCE
                 SPEED                AVERAGE        FUEL OIL    FUEL OIL    FRESHWATER    FRESHWATER    NUMBER         IV11'L         IUlAL
    DISTANCE              AVERAGE        SLIP       CONSUMED     ON HAND      CONSUMED                                 AVERAGE       DISTANCE         DETENTION
                   BY                                                                        ON HAND     BOILERS
    BY ENGINE    ENGINE
                           R.P.M.     (PERCENT)     (BARRELS)   (BARRELS)       (TONS)        (TONS)      IN USE         SLIP           BY            STEAMING



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                                                                                                                      !PERCENT)       ENGINE
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                 BALLAST TANKS                                       REFRIGERATION                                       DRAFT OF VESSEL
~
             PORT, CENTER, STARBOARD                                        (CARGO)                       Sailing: _ _ _ _ _ Forward        _     ,,._     Aft
TANK           LAST FILLED       INCHES      TONS     COMPARTMENT                TEMPERATURE              Arriving:                 Forward                Aft
                                                                            4    8    12    A.M   P.M.    Mean             _ _ _ w,.,. _ _ ,. _ _ _ ' " " ' · · -

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-- 2                                                                                                      A.M. - Forward - - Aft
                                                                                                                              - - Mean ~·"'-
                                                                                                          P.M. - Forward
                                                                                                                          --- --- Mean - -
                                                                                                                             Aft
        3
                                                                                                                       FUEL OIL AND WATER
        4                                                                                                 Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
        5                                                                                                Arriving: Brls. Fuel Oil--·- Water, Tons .. _____
                                                                                                         Received: Brls. Fuel Oil _ _ Water, Tons _ _
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       9                                                                                                                                           Chief Mate

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              Case 8:17-cr-00445-MSS-CPT Document 150-20 Filed 12/15/17 Page 6 of 59 PageID 501

      Loe oF rHE s. s.            }-11L.-L..7_',  _,_P_/f_____;,  1=----C----'i<'--<_o_iv_ __            FROM
                           M.V.

                                                                                                                          GYRO          STANDARD
      HOUR         LOG
                                    COURSE                             WIND             BAROMETER
                                                                                                          TEMPERATURE
                                                                                                                         COMPASS         COMPASS     SOUNDINGS
                          STANDARD     GYRO     STEERING           DIRECTION    FORCE                      AIR   WATER       ERROR      DEVIATION

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      LATITUDE           LONGITUDE     COURSE     DISTANCE            TOTAL    LENGTH OF DAY             TOTAL     AVERAGE       TOTAL AVERAGE      DETENTION
                                                                      DISTANCE                           TIME AT SEA SPEED           SPEED
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                                                                  COFFERDAMS                COFFERDARMS
                    RUNNING LIGHTS                                    OR                         OR                                  LOOKOUTS
~-                                                                PORT B!LGES             STARBOARD BILGES
                         13URNING                     NO.            A.M.       P.M.    No.       A.M.   P.M.    HOURS                     NAMES
                                                                                                                                                            ···-·-···
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  Midnight to.,, ..------, .......... ,___ A.M.                                                                              -                                    --······
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  --··- ......-------··------- P.M. to Midnight
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                  DRINKING WATER                             3                            3
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.                                                                               REMARKS




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                                                                ENGINE PERFORMANCE
                             SPEEIJ             AVERAGE      FUEL OIL    FUEL OIL    FRESHWATER        FRESHWATER    NUMBER       IUIAL        IUJAL
            lllSTI\NCE                AVERAGE                            ON HAND                                                AVERAGE      DISTANCE     DETENTION
                               BY                  SLIP     CONSUMED                  CONSUMED           ON HAND     BOILERS
           BY ENGINE         ENGINE
                                       R.P.M.   (PERCENT)   (BARRELS)   (BARRELS)       (TONS)            (TONS)      !NUSE        SLIP          BY       STEAMING
                                                                                                                                (PERCENT)     ENGINE




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                              BALLAST TANKS                                  REFRIGERATION                                         DRAFT OF VESSEL
                    PORT, CENTER, STARBOARD                                         (CARGO)                           Sailing: _ _ _ _ _ Forward
    ·----                                                                                                                                          -··------- Aft
     TANK                LAST FILLED      INCHES     TONS     COMPARTMENT                TEMPERATURE                  Arriving: _ _ _ Forward                 Aft
    - -·-                                                                                                             Mean --
                                                                                    4    8        12    A.M   P.M.                         --·-·----·--·--· ·-
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                                                                                                                                  FUEL OIL AND WATER
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                                                                                                                      Arriving: Brls. Fuel Oil ________ Water, Tons·-
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    ··-··--··                                                                                                         Received: Brls. Fuel Oil _ _ _ Water, Tons ___
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  LOG OF' THE S.S.}                                                                               FROM
              M.V.

                                                                                                                   GYRO         STANDARD
                                   COURSE                           WIND           BAROMETER
                                                                                                   TEMPERATURE
                                                                                                                  COMPASS        COMPASS     SOUNOIN<i'
 HOUR              LOG
                          STANDARD   GYRO     STEERING        DIRECTION    FORCE                    AIR   WATER      ERROR      DEVIATION
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                         LONGITUDE   COURSE    DISTANCE
                                                                tTOTAL
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                                                                          LENGTH OF DAY          TOTAL     AVERAGE     TOTAL AVERAGE        DETENTION
                                                                 DISTANCE                        TIME AT SEA SPEED         SPEED
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                                                             COFFERDAMS                COFFERDARMS
                    RUNNING LIGHTS                               OR                         OR                               LOOKOUTS
                                                             PORT BILGES             STARBOARD BILGES
                                                                                                                                                          ---
                         BURNING                   NO.          A.M.       P.M.    No.    A.M.    P.M.    HOURS                   NAMES
                                                                                                                                                          .....
                                                         I                           I
 Midnight lo-·                 A.M.                                                                                                                    - ..
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                   DRINKING WATER                        3                           3
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                           Case 8:17-cr-00445-MSS-CPT Document 150-20 Filed 12/15/17 Page 9 of 59 PageID 504




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                                                                                REMARKS




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                                                                ENGINE PERFORMANCE
                             SPEED              AVERAGE      FUEL OIL    FUEL OIL    FRESHWATER      FRESHWATER        NUMBER        IUTAL          !VIAL
             lllSTANC'I'              AVERAGE      SLIP     CONSUMED     ONIIAND      CONSUMED                                     AVERAGE        DISTANCE     DETENTION
                               BY      R.P.M.                                                          ON HAND         BOILERS
             BY l'NCilNE     ENGINE             (PERCENT)   (BARRELS)   (BARRELS)       (TONS)          (TONS)          IN USE        SLIP            BY       STEAMING
                                                                                                                                   (PERCENT)       ENGINE




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                             BALLAST TANKS                                   REFiIGERATION                                            DRAFT OF VESSEL
                         PORT, CENTER, STARBOARD                                    (CARGO)                             Sailing:---·-- Forward ----·- Aft
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           TANK           LAST FILLED     INCHES     TONS     COMPARTMENT                TEMPERATURE                    Arriving:       Forward       Aft
         --·-··-                                                                                                        Mean --------··-----·-··-··--
                     I                                                              4    8     12      A.M      P.M.
 - -··-----                                                                                                             A.M. - Fo1ward     All
                     2                                                                                                                 - - - - Mean -----
                                                                                                                        P.M. -- Forward _ _Aft
         --·----··                                                                                                                         - - Mean · - -
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                                                                                                                                       FUEL OIL AND WATER
         -           4                                                                                                  Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                     5                                                                                                  Arriving: Brls. Fuel Oil-·-- Water, Tons .. - - -
         ------                                                                                                         Received: Brls. Fuel Oil·--Water, Tons _ _
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    LOG OF THE S. S.}                                                                               FROM
               M.V.

                                                                                                                      GYRO        STANDARD
                                    COURSE                          WIND             BAROMETER
                                                                                                     TEMPERATURE
                                                                                                                     COMPASS       COMPASS
    HOUR            LOG                                                                                                                        SOUNDINGS
                           STANDARD    GYRO     STEERlNG        DIRECTION    FORCE                    AIR   WATER      ERROR      DEVIATION
                                                                                                                                                           -·--

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    LATJTUDF              LONGITUDE    COURSE    DISTANCE          TOTAL        LENGTH OF DAY      TOTAL     AVERAGE      TOTAL AVERAGE       DETENTION
                                                                   DISTANCE                         TIME AT SEA   SPEED         SPEED



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                                                               COFFERDAMS                COFFERDARMS
                     RUNNING LIGHTS                                OR                         OR                               LOOKOUTS
                                                               PORT BILGES             STARBOARD BILGES

                          BURNING                    NO.          A.M.       P.M.    No.    A.M.    P.M.    HOURS                    NAMES
--                                                         I                           I
 Mid night to .. --·-----··- ________ A.M.                                                                                                                            ;
 ·-·- ·------·----------- P.M. to Midnight                 2                           2
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                DRINKJNG WATER                             3                           3
     TANK
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•                                                                                REMARKS
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                                                                 ENGINE PERFORMANCE
                            SPEED                AVERAGE      FUEL OIL    FUEL OIL    FRESHWATER                                       IUJAL        JUIAL
                                     AVERAGE                                                           FRESHWATER        NUMBER
             IJISJ'ANCE       BY                    SLIP     CONSUMED     ON HAND      CONSUMED          ON HAND         BOILERS       AVERAGE     DISTANCE     DETENTION
            \IY ENGINE      ENGINE    R.P.M.     (PERCENT)   (BARRELS)   (BARRELS)       (TONS)           (TONS)_         IN USE         SLIP         BY        STEAMING
                                                                                                                                      /PERCENT)     ENGINE

                                                                         }f?i.?_e                     a !.JI,' t "-.
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            jA/< .P ,T,Jpqj!J (_                       7o ~y I) o(_jf Ov('Jt? rdc::,7l77y.
            ··-----------------------------------------
            J.700 ./JLl c.,-l                          t:,.L l/J1lll,V 0:7/t111 lf/Jt1.11t12 v£/JbL




      ~el)() It/£ Jj £ l                       1£ e,,,_l/i &:J . (A,: tl t.J / 1i_.:- l / / r'z,. A7 o I(,, 1., /JolPI
                            BALLAST TANKS                                       REFRIGERATION                                           DRAFT OF VESSEL
                      PORT, CENTER, STARBO ARD                                     (CARGO)                                Sailing: _ _ _ _ Forward                  Aft
     -·· ·-·-·
                                                                                                                          Arriving:               Forward
     ....
            TANK          LAST FILLED    INCHES       TONS     COMPARTMENT                 TEMPERATURE                                                      - - - Aft
                                                                                      4    8     12     A.M       P.M.    Mean
                  l
      ·····--
                  2
                                                                                                                          A.M. - Forward
                                                                                                                                          --Aft
                                                                                                                          P.M. - Forward _ _Aft
                                                                                                                                                - - Mean - · -
                                                                                                                                                    Mean
     ---·                                                                                                                                            --            -
                  3
     '--·                                                                                                                              FUEL OIL AND WATER
                  4                                                                                                      Sailing: Brls. Fuel Oil _ _ Water, Tons_
                                                                                                                         Arriving: Brls. F1,1el Oil _ _ Water, Tons_
                  5
     --·                                                                                                                 Received: Brls. Fuel Oil _ _Water, Tons·-
                  6

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                  8
                  9                                                                                                                                           Chief Mate

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                 II
                 12
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                                                                                                                                                                  DISC-00483
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                                                                                     REMARKS
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                                                                            0/v[yu,{,e_() /,j /J/c_tj (}o(ff J ///fl C1fi/l;V.(
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              J /!1. Zl1(               Cr:1/VJ l"1ll{ ,             11/-f'/f'(      Gl-{,41vZ /Vt...                     tf?££_ J tJ N/v{lj cJ,vrf off,£> T;J

               ( ,JJvtJ1vc;(c'               c C { I! ;v i.f.il-             o/C     /J J '-S 711 /../J ol/ to
-, 10Jo (frtJI{ Cl[)N_j,Jl. o( # s- .f ll>!l.(Jciff(p C of')ell7[LJ
   I/ J () l /:1Aft_/ {' Ll ftµ//Vl ft Cf, J ;-;!/R.. /J'u!J KO 71/NJr
ON,                                                                 ENGINE PERFORMANCE
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                               SPEED               AVERAGE       FUEL OIL     FUEL OIL    FRESH WATER     FRESHWATER            NUMBER        JUJAL         rnrAL
              DISTANCE                  AVERAGE                 CONSUMED      ON HAND      CONSUMED                                           AVERAGE     DISTANCE        DETENTION
    }                            BY      RJ'.M.       SLIP                                                  ON HAND             BOILERS
             I!\" ENGINE      llNGlNE              (PERCENT)    (BARRELS)    (BARRELS)       (TONS)          (TONS)              \NUSE          SLIP          BY          STEAMING
    ,·                                                                                                                                       /PERCENT)     ENGINE

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    0
         /Joc' /k:7 t/,.-:>c/[ Jvei/t,Jt/Qdt /fcv..L-J'El':2/ ~l /'06/f ,/7/JEl /-/ILi f,lfJtN
-.;.: {(Cf vf'1£a                         IV o£ 111       /tl ~/ C'le It dC 7 2 v.T 7Z£.; A-fl//:I tv;zc c IL/a ,12 o                                                         l,,·1r·

             7//f f;l/f C£J.£:/vC. _
                                ./".otfr CJ/:: ·7(/t€ v£, ([(: (
-':/ } ] ~ C v 7 7 7 /\., <..- oc- /;I I I? .:.,fc 7 J 7 &fi '74--1vt[ Co/JJ /l'it>JC!Eg.._ t~LZ,v£
- !l VO I', i[Z{., {"-'[ lt/Z £11 li i .{ --f2 CO (l-yy\ f!'./C,Ed
-1 Jf!_ w·O/(. t· /?(}~ t>vt.?J, A·lt 11/2 y /JDt Ir fD{/ZJ 01v1VE; /J£c?_!j/2. a~?


;        _____________________________________
        orJ4J C) l/ ll.Jl(                          fl' C u/(,f/J JAfll.11.., .4-1 JJY? vJ /Joij1
                              BALLAST TANKS                                        REFRIGERATION '                                              DRAFT OF VESSEL
                        PORT, CENTER, STARBOARD                                          (CARGO)                                 Sailing: _ _ _ _ _ Forward_-_ _ _ Aft
    L.... .••.••
         TANK               LAST FILLED     INCHES       TONS     COMPARTMENT                  TEMPERATURE                       Arriving:               Forward - - - - Aft
    ~    .......
                                                                                         4    8     12     A.M           P.M.    Mean
                    I
        --     .                                                                                                                 A.M. -- Forward
                                                                                                                                                 - -Aft - - - Mean - - -
                    2
         ·--···-
                                                                                                                                 P.M. -- Forward
                                                                                                                                                 -- Aft - - Mean - - -
                    3
     ---                                                                                                                                      FUEL OIL AND WATER
                    4                                                                                                           Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                                                                                                                                Arriving: Brls. Fuel Oil _ _ _ Water, Tons ___
                    5
    _..........                                                                                                                 Received: Brls. Fuel Oil
                                                                                                                                                         --    Water Tons
                                                                                                                                                                      '        ---
                    6
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                    7
                    B
                    9                                                                                                                                                Chief Mate

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                   II
                   12                                                                                                                                       a~,




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            TO[ijl{lil ;)[ LA;:· (JflJJ{K/}j
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                                                                           REMARKS




- 08-J10a1t Ool/1 J';!}ff J71JR7fc:; 1/vOlll-{jlv& ON II t C!Jlc..t--o 7dl'V"1                                                                                 /CJ1<T}l.ac_
-       /) tJf f'µe,., 7 rJ{ I: ;:>:7~                 tl;zt {:_,[ ifil£A, kl( 7 IJ;vf( J )rNP Jf!J/}c{ J 7 [ J 1£~ . lvJ
- C/b1J 'l "11l-                    1;;1[I: J Oµ/'V'( /       rJIV!J:14'/l 1J            lo (_,<.?/v{J'µI){        CL[A,w 7µl                  ///Nv{ J f'Oll.]/S 1.fJ

   17:;fJ/lt-l. "'-' fJ!l/1C;f!2/l-i:idvv74-7 A .{lrJtv r1/dC£, ?v[CoZ1vt-. /v\lt-cHJµf t..1vWl--/Ji:fJ!I&
        0


- /l L u;vC/1 IJ /l£11-1 . Jv o 7h lv~f l! [IJtJ ltJv rl £,Jr:11vfv{)
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                                                            ENGINE PERFORMANCE
                                                                                                                              !VIAL         !VIAL

      Ii BYENGINE
                        SPEED               AVERAGE     FUEL OIL    FUEL OIL    FRESHWATER        FRESHWATER    NUMBER
         DISTANCE                AVERAGE      SLIP     CONSUMED     ON HAND      CONSUMED                                     AVERAGE      DISTANCE     DETENTJON
                          BY      R.P.M.                                                            ON HAND     BOILERS
                        ENGINE             (PERCENT)   (BARRELS)   (BARRELS)       (TONS)            (TONS)      IN USE         SLIP          BY        STEAMING
                                                                                                                             (PERCENT)      ENGINE




         _;] ,r;;; !<..tJ vt'-\ [       Of'lle.A 77   /:I 1_ J:!,f1vi// I vie_ I l11vo £lvl-lr,1( le ooA 6/L C-(
                                           Iv t.(0'lj,µl.                          (A;


- lJ]) (/[ANZµl- f'laJ 0/v/.J/E/ ,1/clltU( 7:, Coµ1z1vvl€, C/[l/:N21vi tJ                        7/jtJI{ J111                                   r
-~ t.foo 1t9-Nf1 C/£AHJ1vl- /1[;f_J of)µ(./ tJl/'lftlZ
-· ;{/_( J //tll 1 ( u77 ;;1>-1L # J 74JJ'1 J1/)
_: /f2 I Elfl.{ ']:/J 71\:AJV! , Cv T7 l µ(_ J UJ f'f,1v/)C a
- I .(.Jo ( Ov I 'J 1v'- {J Cl,-- Iv c:Jf~ T If N 11 .{//flt (,../ Z f I/ 1/v /J 1[4.
  . Jl:PofZl.t Dvt. 7A-,,v-1 #£ f'lortt f f7/ll<(Jo,ltt'{2 Cv77Z1vt... J//Jf7_,uve;{:a
- 1700 lorv1 r'll 71r- Z1v(l:al w£ Llf'ZN<-, oJC ;( Nt- Ziv( /e 1) i)~ tfZl"-1;-


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      o 00° V£J~f I                  ( l (, v/.,l.O ,·f)fllu /}7 /J/c;/J ~.:.,Cl/;
                        BALLAST TANKS                                   REFRIGE~ATION                                           DRAFT OF VESSEL
                    PORT, CENTER, ST ARBO ARD                                  (CARGO)                           Sailing:                Forward            Aft
      --·-
       TANK LAST FILLED              INCHES     TONS     COMPARTMENT                     TEMPERATURE             Arriving:                Forward           Aft
      -·----                                                                                                     Mean
                I                                                              4         8   12    A.M   P.M.
                                                                                                                 A.M. ·- Forward - -AH
      ·--·-
                2                                                                                                                              - - Mean ----
                                                                                                                 P.M. - Forward _ _Aft
       -·-· -                                                                                                                                  - - Mean - - -
                3
      ·-·-..                                                                                                                  FUEL OIL AND WATER
                4                                                                                                Sailing: Brls. Fuel Oil _ _ Water, Tons·-
      ---                                                                                                        Arriving: Brls. Fuel Oil-·-··-·- Water, Tons···---
                5
      ········--    ~
                                                                                                                 Received: Brls. Fuel Oil _ _ Water, Tons · -
                6
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                7
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                9                                                                                                                                     Chief Mate

               10                                                                                                                                      Mater
               II
               12                                                                                                                        - -
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                                                                                REMARKS




     OBJ) (I,'() /}Cl f/                             J Z8fl ()0 (j /f/lh . 7 /rlvr{ Ji7(iL[
                                                                                    0                                                7 & J 7(?7             JJt11,,'J

     lr (fV\Ojf1/£flE tJi,,{,                             ?-Alvfj # s· J ZAJttJ (jl\v{_,i)                     Zr1[t!?l'c !(~ /tJVt?;:: oJtv/J Zo /JI{
     (}t{ /:: 0 ft..                f< ( j II f"\ (J/ l ~ Iv
    C'J"O 7 4-tvN l Llfltv£J /f!Zlll v[ ( LE1J1v:t1vl tJf 7~;,..,t't /:IS- flotcf Jlf'tt GVN'?kvli!J,
    ;iov CUtv(/1 oicl!ln
                                                                ENGINE PERFORMANCE
                                                                                                                                  lVJI\L        !VIAL
                           SPEED    AVERAGE   AVERAGE        FUEL OIL    FUEL OIL       FRESHWATER    FRESHWATER    NUMBER
     D!Sl'ANCE               BY                  SUP        CONSUMED     ON HAND         CONSUMED       ON HAND     BOILERS      AVERAGE      DISTANCE     DETENTION
     8Y ENGINE                       R.P.M.                                                                                        SLIP          BY        STEAMING
                           ENGINE             (PERCENT)     (BARRELS)   (BARRELS)          (TONS)        (TONS)      !NUSE      (PERCENT)      ENGINE




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                                    "(   l, L{!IJJ{/0            z
                                  0 p Ni) T ft.{ 7v<,._, !+/IIJ Tift '1 w£µ7 041 /f,volf/[,{. Yv!?•
    ;J!o 7/f!Vl/1 {,'. OfY)Cl[1£,a /ff 7[!( i If[/!! (/?kw C oN7 lwu£& 711{ cLf/dttll'Jt. lJ/'ft?;1
    1yP zµJrl0 t1:t:1 tJ 7 J /fJ/9 yttlla Jlfffz1 offZCl/l ANC' fo~ 1tv/J' 01(10vZ7;ir1l i
     rliJ uh t !J
    / 1;-2:; f lll-f 2rv 7 kAJ/1          .
     Jb~o f itt[ If' !I TlNfc vt,1/,jlb IC I.P 77 Ztvlr f vJflµ!J(;J.




     " Jil
     vO                    Fli()..Af.. l+/vt' J /ff,£ -Z-.. ;z.~µJt1 ( OA.l/?v61E£J
                            BALLAST TANKS                                    REFRIGERATION                                         DRAFT OF VESSEL
                  PORT, CENTER, STARB OARD                                          (CARGO)                          Sailing: ·-·----··· Forward ..-----·--..- Aft
                                                                                                                     Arriving: _ _ _ _ Forward
    I INK           LAST FILLED          INCHES    TONS       COMPARTMENT                   TEMPERATURE                                             - - - Atl
      -·                                                                                                             Mean
         I                                                                              4   8    12    A.M   P.M.
     ·--                                                                                                             A.M. - Forward _ _Atl - - Mean - -
        2                                                                                                            P.M. - Forward ---Aft -·-- Mean -
      ·-·
            3
                                                                                                                                  FUEL OIL AND WATER
            4                                                                                                        Sailing: Brls. Fuel Oil _ _ _ Water, Tons _ _
     ·-          1.....-
                                                                                                                     Arriving: Brls. Fuel Oil ____. Water, Tons _______
            ~
                                                                                                                     Received: Brls. Fuel Oil - -Water, Tons -
            (1

            7

            8
           9                                                                                                                                             Chief Mate

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                                                                                                                                ~
       II
       12




                                                                                                                                                                 DISC-00486
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                                                                             REMARKS




- JBoJ lJ{l Ct/2;                              l)/2.t?. z;vl A7 1/[.f.f{ l /             /?u 7 Iv tvo/ef( j 1m7f,d A f Jl);c,c,Zy
                                                                                                      CJ


   orrzc:z,4~ /vD 7 0/V{lvlf(Ctl vf ( if.Er 7o &--Zv[ (-0 .41-)£1)(} 7oi/)J/e,l 7v/5',
- o jS . :) )hF--l 7~, ,otllclA c o!v6{?f)!l~ 7o 7 ;.,,,ft;:1£ c1 7 ftW/fJ . AI! .ZJ ot; ~1<
                    I
           Zf!J/t C7 J vvJ ,


                                                               ENGINE PERFORMANCE

       I ii'NX,~'/;
                          SPEED
                           BY      AVERAGE
                                    R.P.M.
                                             AVERAGE
                                                SLIP
                                                          FUEL OIL
                                                         CONSUMED
                                                                      FUEL OIL
                                                                      ON HAND
                                                                                 FRESHWATER
                                                                                  CONSUMED
                                                                                               FRESHWATER
                                                                                                 ON HAND
                                                                                                              NUMBER
                                                                                                              BOILERS
                                                                                                                         AVEil1tE
                                                                                                                           SLIP
                                                                                                                                    o,s¥~th
                                                                                                                                       BY
                                                                                                                                                 DETENTION
                                                                                                                                                 STEAMING
                          ENGINE             (PERCENT)   (BARRELS)   (BARRELS)      (TONS)        (TONS)       IN USE
       I                                                                                                                (PERCENT)   ENGINE

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                                                      I '2., <fCJ
                                                           I         JBe. LI 0 ''f-
     .~£ I( 7 j' ta i.;J/ACE, l c?ri.Pc 1/Tµt !Jy l [ 77£1t of t°te. Oll/.f fl f}IJ{ Ta
- ~/17.f' yAfLO A/f;v/l{,.£Mfµ·1                                                      . _
- ll.20              ve
             V/v7 l l l LJ/Vl. fl {J!l[i1/f /vD w{ l£JZ;vl j T/Jl21lttJ ))7 ./iJ eol:7JJ(Jl ljj/J
_ wo(l~ i/1                        vlYl.6J JC O w /A-cl.
- /J,;) 'ND!ct{ /<..6fv/")c/1 ,/V.,f7lfL /IL/d7f.l 11t:.-L7lr'{l((.iJ.. WfL/itJl                                                                t£r;v..f[tZT
           J./ /+(( - /)
- Is            ,o hJ ELO l Nl- .7 If OfJ ?- 21111 (..
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   /700 /;. , fl1'/,Nt,. Jc.JI? O/Jl- DZ,,/t,.; A; f '11)0r J'//'7-f'7 · k/ Off f(l/(,/ f!JJ-1vt? ovi.'/c
                      1                                                                                                                                      To
_ rv Z?.-11 7 J lt1f z vv i/{fl(at
-· lLJJ W£l£) l,tv/,r C-vfV)/il[7fo AT T#·l,Jf1 // [ flo{l.7 Jlef..
•i NOil Flftf ~/J/1 ,J~,:c11.1    !Zov11/fJ /'Cl/v(}illlftJ
 r ....-             ...................
                         BALLAST TANKS  ~........;,,,,.;....,.--------"""'~--------.-------~
                                                  '          REFRIGERATION                       .....- - ~
                                                                                   DRAFT OF VESSEL
                  PORT, CENTER, STARBOARD             (CARGO)           Sailing: _ _ _ Forward _____ All
                ----------CO-M-PA_R_T-ME_N_T---,---TE-M-PE_RA_T_U_RE--1 Arriving: _ _ _ Forward _ _ Aft
       lANK        LAST FILLED    INCHES  TONS
       -·-···                                                                    4   8    12    A.M    P.M.    Mean _ _ _ _ _ _ _ _ _ _ _ _
                 1
       .. -··· -l----+---l----+----l-------1----1-t----+---+----I A.M. ··- Forward _ _ Aft _ _ Mean ---·--
                 2
        -- --l---+---+-----1--+------+---+---+---+--+----I
           3
                                                           P.M. - Forward _ _Aft _ _ Mean _

       L..                                                             FUEL OIL AND WATER
.,::             4                                                                                             Sailing: Brls. Fuel Oil _ _ Water, Tons_
           - - - l - - - 1 - - - + - - - - f - - - - 1 - - - - - - - + - - + - - - + - - + - - + - - - - t Arriving: Brls. Fuel Oil-··- Water, Tons·---
              5
       -·-·-. - - J . - - - 1 - - - ~ - - - + - - - 1 - - - - - - - 1 - - f - - - - l - - + - - - + - - - - I Received: Brls. Fuel Oil ___ Water, Tons·-
                 6



i! 1 - - - 8 - 1 - - - - - 1 - - - 4 - - - + - - - - t - - - - - - - + - - t - - - + - - i - - - t - - - i
;\  9                                                                                                                                          Chief Mate
} 1--~---1---+---+----+------+---t---t---t---t----t
 f              JO                                                                                                         J                  /)Mater


J~-·~==:;:================:============:=:========~--t ~-_y-~
t."-....----..i..--,i...-.a...-----------------------------·. .

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             TO            (j~ Ii1=1t (}£ l A) c AL I,) tll. (-U
                                                                                 REMARKS




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             1 o $ kl NO {I L!/J 7 L./ [ jJ f_ (




                                                                 ENGINE PERFORMANCE
                               SPEED             AVERAGE      FUEL OIL    FUEL OIL    FRESHWATER    FRESHWATER     NUMBER         IUTAL             !VIAL
                                       AVERAGE
      i BYil!STANCE
              FNGJNE             BY
                              ENGINE
                                        R.P.M.      SLIP
                                                 (PERCENT)
                                                             CONSUMED
                                                             (BARRELS)
                                                                          ON HAND
                                                                         (BARRELS)
                                                                                       CONSUMED
                                                                                         (TONS)
                                                                                                      ON HAND
                                                                                                       (TONS)
                                                                                                                   BOILERS      AVERAGE
                                                                                                                                   SLIP
                                                                                                                                                   DISTANCE
                                                                                                                                                      BY
                                                                                                                                                                    DETENTION
                                                                                                                                                                    STEAMING
      I                                                                                                             IN USE
                                                                                                                                <PERCENT)           ENGINE




             LlOo J/+1vP{JllJJ1 ltvl,                            (~Ohi1l!JV[j;
             _1q oo J /tfJ(} (f LA[1 :z:u- c o;.,;7ztJ uia
             ;qJs:: <~AIV'v !J utf1 Z!v'l- J;off(o polf Td{ o/Jy




j'.
                              BALLAST TANKS                                   REFRIGERATION                                          DRAFT OF VESSEL
                           PORT, CENTER, STARBOARD                                   (CARGO)
      ··-···-
                                                                                                                    Sailing:                Forward
                                                                                                                                                    -·-·-·--- Aft
      .._l:\NK              LAST FILLED    INCHES     TONS     COMPARTMENT                TEMPERATURE               Arriving:                Forward          Aft
           _____
                                                                                     4    8    12     A.M   P.M.    Mean
                       I
      ·-······-                                                                                                     A.M. - Forward _ _Aft - - - Mean - · -
                   2                                                                                                P.M. - Forward - - -Aft - - Mean - -
      -·---·
                   J
       ...                                                                                                                         FUEL OIL AND WATER
                   4                                                                                                Sailing: Brls. Fuel Oil _ _ _ Water, Tons _ _
       --·                                                                                                         Arriving: Brls. Fuel Oil _____ Water, Tons ·-·--
                   5
       --                                                                                                          Received: Brls. Fuel Oil ____ Water, Tons ___
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                   8
                   9                                                                                                                                           Chief Mate

                  10
                                                                                                                                                     o             Mater
                  II
                  12
                                                                                                                                 '
                                                                                                                                      ---- L.-1
                                                                                                                                            r-..            IJ -




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                      TO /3/)f/J;,} O[ LI/I                      ( !JlOf£1/,)~-,                   FROM      J &f.!~/1~ 2 b ft//1!2(;/I L o/J
                                                                                         REMARKS




_i                    0800 JAN(} ll(Aj z CoNZ/e.AL7~1t1 A-lei<zJ. FA; illf)vLi (.                                                         ll- Z-J7 V j [fl rr~ LJ;::.;
                                                                                                                                               0


                      (Jl((J<JM{( _7o '7/ft }1-fp fZ.P'[ ..Ub7 wD,1,,/f_t..,.lv{,r· Jif)/Cr 0~ JAµ~@/7'



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                      !voJ JIt wt' (ILJ., 1                         ol'l ;( 11 tz:      01.)

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-    r
     > UYDISTANCE                  SPEED
                                    BY
                                           AVERAGE
                                                      AVERAGE
                                                        SLIP
                                                                          ENGINE PERFORMANCE
                                                                     FUEL OIL
                                                                    CONSUMED
                                                                                  FUEL OIL
                                                                                  ON HAND
                                                                                               FRESHWATER
                                                                                                CONSUMED
                                                                                                             FRESHWATER
                                                                                                               ON HAND
                                                                                                                           NUMBER
                                                                                                                           BOILERS
                                                                                                                                         JU <1'L
                                                                                                                                        AVERAGE      DISTittE      DETENTION
·'·>..      l'NGINE               ENGINE
                                            R.P.M.   (PERCENT)      (BARRELS)    (BARRELS)        (TONS)        (TONS)      !NUSE         SLIP
                                                                                                                                       /PERCENT\
                                                                                                                                                        BY
                                                                                                                                                      ENGINE
                                                                                                                                                                   STEAMING




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                 J_o~.[ /I V(I IUt V l ?(. /jo Z:)] i,JO iJ I,.., 0{(,ff T-, ,;(, /)f 7t£ {({_/J /JtJU
                 l oJ o JoJf.lV /J l,+J-['ZtJlr- JZlf/2 7£//
                 ./Soo 5 ou;Jlt) t?litl1b1Jl, (}/Ji.- o ZJvl,
                  .dSI J O vtJtJ f?Ll/,lzZ;J6- or- 1/i./Jf. l                                                C,ori;J/£7[,2 ANP JJ /JDfiv                                  fe,£1
                      ~Of( f 1}~1V1t,fv!{.., /''7/}l,N 7                        L O/V7/t.AC 7oK JtJv,t./E~ /'l}-z1v 7,Zµ f.-...                                 7° tZ .£ J,..1
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                                  BALLAST TANKS                                       REFRIGERATION                                       DRAFT OF VESSEL
                               PORT, CENTER, STARBOARD                                       (CARGO)                        Sailing: _ _ _ _ Forward ____ , ___ Aft
                 "~-.~-
                                LAST FILLED                                                         TEMPERATURE             Arriving: _ _ _ _ _ Forward         Atl
                  TANK                         INCHES        TONS     COMPARTMENT                                                                           ---
                -- l                                                                           4   8    12    A.M   P.M.    Mean - - - - · - - - - -                     ---
                -····-·                                                                                                     A.M. -·· Forward        Aft - - - Mean - · -
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                                                                                                                                               --   An
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                                                                                                                                         FUEL OIL AND WATER
     '·l,                  4                                                                                                Sailing: Brls. Fuel Oil _ _ _ Water, Tons _ _
                                                                                                                            Arriving: Brls. Fuel Oil ·-·-·-·- Water, Tons · - -

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                                                               ENGINE PERFORMANCE
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       !      DISL\NCE
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                                                                        FUEL OIL
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                                                                                                                NUMBER
                                                                                                                BOILERS      AVERAGE          l>IS1i_~~'.E     DETENTION
       j IJY rNGINE         ENGINE
                                      R.P.M.   (PERCENT)   (BARRELS)   (BARRELS)       (TONS)        (TONS)      IN USE         SLIP              BY           STEAMING
                                                                                                                             (PERCENT)          ENGINE




       :                    BALLAST TANKS                                   REFRIGERATION                                       DRAFT OF VESSEL
       !                 PORT, CENTER, STARBOARD                                   (CARGO)                       Sailing: _ _ _ _ _ Forward _ _ _ _ Aft
       !Ra•••••--•
       ) T,\NK            LAST FILLED    INCHES     TONS     COMPARTMENT                TEMPERATURE              Arriving:                   Forward               Aft
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       Ir-~          4                                                                                           Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                                                                                                                 Arriving: Brls. Fuel Oil-··· ___ Water, Tons _____
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                                           R.P.M.
                                                      AVERAGE
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                                                     (PERCENT)
                                                                      FUEL OIL
                                                                     CONSUMED
                                                                     (BARRELS)
                                                                                  FUEL OIL
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                                                                                 (BARRELS)
                                                                                             FRESHWATER
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                                                                                                              FRESHWATER
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 ---!f,                       BALLAST TANKS                                           REFRIGERATION                                      DRAFT OF VESSEL
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    l:                    PORT, CENTER, STARBOARD                                        (CARGO)                             Sailing:       ·-
                                                                                                                                               Forward - · - - - Aft
              1,,----
 __j TANK                      LAST FILLED       INCHES   TONS         COMPARTMENT                TEMPERATURE                Arriving: _ _ _ _ Forward            Aft
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                      4                                                                                                      Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
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                                        R.P.M.
                                                 AVERAGE
                                                    SLIP
                                                 (PERCENT)
                                                              FUEL OIL
                                                             CONSUMED
                                                             (BARRELS)
                                                                          FUELOlL
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                                                                         (BARRELS)
                                                                                      FRESHWATER
                                                                                       CONSUMED
                                                                                         (TONS)
                                                                                                    FRESHWATER
                                                                                                      ON HAND
                                                                                                       (TONS)
                                                                                                                  NUMBER
                                                                                                                  BOILERS
                                                                                                                   IN USE
                                                                                                                                lUlAL
                                                                                                                                AVERAGE
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  -                           BALLAST TANKS                      ,jf'         REFRIGERATION                                          DRAFT OF VESSEL
                          PORT, CENTER, STARBOARD                                    (CARGO)
  -!,,..                                                                                                           Sailing:                Forward
                                                                                                                                                    - - Aft
  - -· TIINK                LAST FILLED    INCHES     TONS     COMPARTMENT                TEMPERATURE              Arriving:                Forward               Aft
   ii -                                                                              4    8    12    A,M   P,M.    Mean
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                                                                                                                                FUEL OIL AND WATER
                      4                                                                                            Sailing: Brls, Fuel Oil _ _ Water, Tons_
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                                                                                                                   Arriving: Brls, Fuel Oil _ _ _ Water, Tons _ _
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                                                                                                                   Receivt:d: Brls. Fuel Oil _ _ Water, Tons.--
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  ~~:i.               9                                                                                                                                  Chief Mate
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JN                                                                      ENGINE PERFORMANCE
                                 SPEED                  AVERAGE      FUEL OIL      FUEL OIL   FRESHWATER    FRESHWATER     NUMBER       lUlAL         1uJAL


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                ll\STANCE                 AVERAGE                                                                                       AVERAGE     DISTANCE     DETENTION
               IJY ENGINE
                                  BY       R.P.M.
                                                           SLIP     CONSUMED       ON HAND     CONSUMED       ON HAND      BOILERS
                                                                                                                                          SLIP         BY        STEAMING
                                 ENGINE                 (PERCENT)   (BARRELS)     (BARRELS)      (TONS)        (TONS)       !NUSE      (PERCENT)     ENGINE




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 -,:,,                           BALLAST TANKS                                         RE FRIG ERA TION                                   DRAFT OF VESSEL              I

                             PORT, CENTER, STARBOARD                                       (CARGO)                          Sailing:---·- Forward--·-·--· Aft
 -"-, ...........                                                                                                           Arriving:
          ......
                              LAST FILLED     INCHES         TONS     COMPARTMENT                 TEMPERATURE                                 - Forward - - - Aft
                                                                                              4   8    12    A.M    P.M.    Mean ··----------·---------············
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                                                                                                                            A.M. ·· Forward - · · All - - · Mean.-------
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           ......                                                                                                                                     --
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                                                                                                                                           FUEL OIL AND WATER
 ]                   4                                                                                                      Sailing: Brls. Fuel O i l _ Water, Tons_
                     5                                                                                                      Arriving: Brls. Fuel Oil·-·-- Water, Tons _______
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          '- ..                                -                                         -                                  Received: Brls. Fuel Oil ____Water, Tons ·----

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                                                                                                REMARKS




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               !>ISfANl'E                   AVERAGE                        CONSUMED      ON HAND                                             AVE~tE                     DETENTION
                                     BY      R.P.M.            SLIP                                   CONSUMED       ON HAND     BOILERS
               HYPNGINE            ENGINE                   (PERCENT)      (BARRELS)    (BARRELS)       (TONS)        (TONS)      IN USE       SLIP          BY         STEAMING
                                                                                                                                            (PERCENT)      ENGINE




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     >                           BALLAST TAMKS                                               REFRIGERATION                                     DRAFT OF VESSEL
                             PORT, CENTER, STARBOARD                                                (CARGO)                       Sailing: _ _ _ _ Forward
                                                                                                                                                               - - - All
             ~.r,iNK             LAST FILLED           INCHES       TONS     COMPARTMENT                 TEMPERATURE              Arriving: _ _ _ _ _ Forward               Aft
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                         [                                                                          4    8    12    A.M   P.M.                     ---·-                   ·-
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                        4                                                                                                         Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
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           J·, DISfANCE              SPEED               AVERAGE         FUEL OIL        FUEL OIL    FRESHWATER    FRESHWATER    NUMBER
                                                                                                                                               1ul'AL        l'OTAL


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                                             AVERAGE                                     ON HAND                                              AVERAGE      DISTANCE         DETENTION
                                      BY                   SLIP         CONSUMED                      CONSUMED       ON HAND     BOILERS
                   BY ENGINE        ENGINE
                                              R.P,M,
                                                        (PERCENT)       (BARRELS)       (BARRELS)       (TONS)        (TONS)      IN USE        SLIP          BY            STEAMING
                                                                                                                                              (PERCENT)     ENGINE
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 -::1:_                             BALLAST TANKS                                   "        REFIUGERATION                                      DRAFT OF VESSEL
      11
                                 PORT, CENTER, STARBOARD                                            (CARGO)                       Sailing: _ _ _ _ Forward
 ~,,
                                                                                                                                                                - - · - - Aft
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            T.INK                 LAST FILLED    INCHES      TONS           COMPARTMENT                  TEMPERATURE              Arriving:               Forward               Aft
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                                                                                                                                                          - - Mean ----
                                                                                                                                                 FUEL OIL AND WATER
                                                                                                                                  Sailing: Brls. Fuel Oil _ _ _ Water, Tons _ _
                                                                                                                                  Arriving: Brls. Fuel Oil _____ Water, Tons
                             5                                                                                                                                                -···--
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                                                                                                                                  Received: Brls. Fuel Oil _ _ _ Wati:r, Tons.,_ _

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                               SPEED                  AVERAGE
                                                                      ENGINE PERFORMANCE
                                                                   FUEL OIL    FUEL O!L    FRESHWATER    FRESHWATER     NUMBER       JU JAL       . IUlrtL




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                 l)JSl'ANCE             AVERAGE                                             CONSUMED       ON HAND                  AVERAGE      DISTANCE      DETENTION
                 HY ENGINE
                                 BY      IU'.M.
                                                        SLIP      CONSUMED     ON HAND                                  BOILERS
                                                                                                                                       SLIP         BY         STEAMING
                               ENGINE                (PERCENT)    (BARRELS)   (BARRELS)       (TONS)        (TONS)       IN USE     (PERCENT)     ENGINE




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     fl          BALLAST TANKS                             REFRIGERATION                                                               DRAFT OF VESSEL
     :I                    PORT, CENTER, STARBOARD                                        (CARGO)                        Sailing: · - · - - - · Forward-----·--·- Aft
     :: ~L~-NK-- LAST FILLED                INCHES        TONS      COMPARTMENT                TEMPERATURE               Arriving: _ _ _ _ Forward                Aft
     :'I......                                                                                                           Mean
                       I                                                                  4    8    12    A.M    P.M.                           --------·---
     :1                                                                                                                  A.M. -· Forward - -Aft
                      2                                                                                                                          - - Mean - - -
                                                                                                                         P.M. - Forward _ _ _Aft




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     i ·- J                                                                                                                          FUEL OIL AND WATER
     t ·-~
     .:.,             4                                                                                                  Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                      5                                                                                                  Arriving: Brls. Fuel Oil ...... _ Water, Tons--·-
                                                                                                                         Received: Brls. Fuel Oil _ _ Wuter, Tons·--
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                                  SPEED                AVERAGE          FUEL OIL        FUEL OIL    FRESHWATER    FRESHWATER    NUMBER
                  l>ISlAMl.                 AVERAGE                                                                                          AVERAGE          DISTANCE     DETENTION
                                   BY                    SLIP          CONSUMED         ON !!AND     CONSUMED       ON HAND     BOILERS
                 HY P.NGJNI·      ENGINE
                                             IU.M.    (PERCENT)        (BARRELS)       (BARRELS)       (TONS)        (TONS)      IN USE        SLIP              BY        STEAMING
                                                                                                                                             (PERCENT)         ENGINE




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                                                                  ,f                        REFRIGERATION
                                  BALLAST TANKS                                                                                                DRAFT OF VESSEL
      '
                             PORT, CENTER, STARBOARD                                               (CARGO)                       Sailing:                Fo1ward -·--- Aft
      '1ANK                    LAST FILLED      INCHES     TONS          COMPARTMENT                    TEMPERATURE              Arriving:                Forward      Aft
      ,,:_....._.                                                                                                                Mean
                  I                                                                                4    8    12    A.M   P.M.                            ·-                    ---
      ;i--·---                                                                                                                   A.M. - Forward - - · Aft
                                                                                                                                                          - - Mean - - -
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                         3   -·                                                                                                  P.M. -Forward - - -Aft       Mean - · -
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                                                                                                                                              FUEL OIL AND WATER
      i;                 4                                                                                                       Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
      '~·
      !                  5                                                                                                       Arriving: Brls. Fuel Oil··------ Water, Tons _ _
                                                                                                                                 Received: Brls. Fuel Oil _ _ Water, Tons·--


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rtON ..                                                      ENGINE PERFORMANCE

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                          SPEED              AVERAGE      FUEL OIL    FUEL OIL       FRESHWATER   FRESHWATER   NUMBER
       · '. !>!STANCE              AVERAGE                            ON HAND                                             AVERAGE    DISTANCE     DETENTION
                            BY                  SLIP     CONSUMED                     CONSUMED      ON HAND    BOILERS
       )UYENGINE                    R.P.M.   (PERCENT)   (BARRELS)   (BARRELS)          (TONS)       (TONS)     IN USE      SLIP        BY        STEAMING
                          ENGINE                                                                                         (PERCENT)    ENGINE



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                BALLAST TANKS             j        REFRIGERATION                   DRAFT OF VESSEL
         •,'
-. •                  PORT, CENTER, STARBOARD                                    (CARGO)                        Sailing: _______ Forward _____ Aft

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.....; '. :!TANK        LAST FILLED   INCHES     TONS     COMPARTMENT             TEMPERATURE            Arriving: _ _ _ _ Forward _ _ _ Aft
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 _,..., , - - - + - - - + - - + - - - - - - + - - - - a - - - - - - - + - - t - - + - - - t - - - - - - t - - - - 1 1 P.M. - Forward ___ Aft _ _ Mean _ _

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                  -l----f----+----+---.-------1----t--t---+--+---t                                                             FUEL OIL AND WATER
 -. ·. ,·         4                                                                                             Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
     fltl.---i-----f----+----+---a-------l---t--t---+---t----1 Arriving: Brls. Fuel Oil ___ Water, Tons-·---
 -f J- ..--5+ - - - + - - + - - - - - - + - - - - a - - - - - - - + - - t - - - t - - - t - - - - + - - - - 1 1 Received: Brls. Fuel Oil ___ Water, Tons _ _
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     5,;,....-+---+--l----+----t1--------t---i---1---t-----t---t
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                       REMARKS
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                          SPEED       AVERAGE
                                                       AVERAGE            FUEL OIL           FUEL OIL         FRESHWATER            FRESHWATER            NUMBER
                                                                                                                                                                             AVERAGE         DISTANCE         DETENTION
                            BY         R.P.M.
                                                          SLIP           CONSUMED            ON HAND           CONSUMED               ON HAND             BOILERS
                                                                                                                                                                              SLIP               BY           STEAMING
                          ENGINE                       (PERCENT)         (BARRELS)          (BARRELS)            (TONS)                (TONS)              IN USE            PERCENT)         ENGINE




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                                                                                                    REFRIGERATION                                                              DRAFT OF VESSEL
                      PORT, CENTER, STARBOARD                                                                                 (CARGO)                                                       Sailing:----- Forward-·-- At\
                -,--LA_S_T_F,,...IL_L_E_D-,--l:-N--C-:H=cE-::-S--r--::Tc=O-,-N:c:-S-e--C::-:,Oc-:M-:·P=-A,..,R::-:T=:M-:-:=:EN,.-,T=--.----::T:-=Ec:-M=P-::E:::cRA-:-:=T::-:U:::cR-::-E---t Arriving:      Forward    Aft
                --1--~---+-----1----...---------+--4-,--8-.-!2-,---A-.M-..---P-.M-.-1 Mean - - - ·
                 -+---+---+----+--~-------1---1--t---1----t----1 A.M. - Forward _ _Aft                                                                                                                    Mean
_J               ---!----1-----1------1------11--------+--+--+--+---+---t P.M. - Forward ___Aft                                                                                                           Mean
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 _jjf ~-.
      · . ---1----1---+-----+-----------------+---+--t-----+---+----1                                                                                                         FUEL OIL AND WATER
-t                4                                                                                                                                        Sailing: Brls. Fuel Oil _ _ _ Water, Tons _ _
   ~·                                                                                                                                                      Arriving: Brls. Fuel Oil_,_____ Water, Tons ... -
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    (: --··-                                                                                                                                               Received: Brls. Fuel Oil _ _Water, Tons __ _
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                                                                             REMARKS




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TION                                                         ENGINE PERFORMANCE
                          SPEED               AVERAGE     FUELOlL     FUEL OIL    FRESHWATER   FRESHWATER      NUMBER
   ' .. DISTANCE                   AVERAGE                                                                                  AVERAGE      DISTANCE         DETENTION
                           BY       R.P.M.
                                                SLIP     CONSUMED     ON HAND      CONSUMED      ON HAND       BOlLERS
                                                                                                                              SLIP            BY          STEAMING
    ' '·. RY ENGINE       ENGINE             (PERCENT)   (BARRELS)   (BARRELS)       (TONS)       (TONS)        TN USE     (PERCENT)      ENGINE




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                          BALLAST TANKS                                   REFRIGERATION                                       DRAFT OF VESSEL
"-1~,                  .PORT,CENTER,STARBOARD                                    (CARGO)                        Sailing: _ _ _ Forward _ _ _ Aft
-·i:TANK       LASTFILLED    INCHES    TONS    COMPARTMENT            TEMPERATURE           Arriving: _ _ _ Forward _ _ _ Aft
       jft··-+--,-----t-----+---t------~-,4-.-:8:-r-1:--::2-.-:A--:.M-:--r-::P:--:-.M-:-.-a M e a n - - - - - -..- - - - - · - · -
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-!.~:.'   --+--~---+---t----........--------1-----r--i--i----t------t A.M. - Forward ___ Aft _ _ Mean _ _
--J;.__.     l                                                                              P.M.-Forward _ _ _ Aft _ _ Mean _ _

--{,::    3                                                                                                                         FUEL OIL AND WATER
 ~ :'.   4                                                                                                           Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
 _ ill,i~-51 - - - - - + - - - t - - - - + - - - - - - - - - - - - - - t - - 1 - - i - - - - i - - - - - i - - - - i Arriving: Brls. Fuel Oil ____ Water, Tons--·-
                                                                                                                Received: Brls. Fuel Oil _ _ Water, Tons __ _
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~TION                                                                                ENGINE PERFORMANCE

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                    i,                     SPEED                AVERAGE          FUEL OIL      FUEL OTL     FRESH WATER      FRESHWATER       NUMBER
                            lllSTbNl"E              AVERAGE                                                                                                  AVEil1~E                  DETENTION
                    .• BYENGINE             BY       R.P.M .
                                                                   SLIP         CONSUMED       ON HAND       CONSUMED          ON HAND        BOILERS
                                                                                                                                                               SLIP         BY         STEAMING
                                           ENGINE               (PERCENT)       (BARRELS)     (BARRELS)        (TONS)           (TONS)         IN USE
                        r                                                                                                                                   (PERCENT)      ENGINE




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   -                                    BALLAST TANKS                                                 REFRIGERATION                                           DRAFT OF VESSEL
- L~·-                               PORT,CENTER, STARBOARD                                              (CARGO)                                Sailing:                Forward ------- Aft

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           !~
                                         LAST FILLED     INCHES         TONS      COMPARTMENT
                                                                                                           4
                                                                                                                  TEMPERATURE
                                                                                                                  8     12     A.M     P.M.
                                                                                                                                                An·iving:
                                                                                                                                                Mean
                                                                                                                                                                         Forward        Aft


- r~ 2I                                                                                                                                         A.M. -- Forward
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                                                                                                                                                              FUEL OIL AND WATER
                                                                                                                                               Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                                                                                                                                               Arriving: Brls. Fuel Oil···-- Water, Tons·--
                                                                                                                                               Received: Brls. ~.uel Oil _ _Water, Tons _ _
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                                     SPEED              AVERAGE     FUEL OIL    FUEL OIL   FRESHWATER    FRESHWATER    NUMBER
                      i, O!STANCE      BY
                                             AVERAGE
                                                          SLIP     CONSUMED     ON HAND     CONSUMED       ON HAND     BOILERS     AV~~tE        DISTANCE     DETENTION
                     ''8YENGINE               R.P.M.                                                                                  SLIP          BY        STEAMING
                      t             ENGINE             (PERCENT)   (BARRELS)   (BARRELS)      (TONS)        (TONS)      IN USE     (PERCENT)      ENGlNE




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            t·
                                    BALLAST TANKS
                                PORT, CENTER, STARBOARD
                                                               "       REFRIGERATION
                                                                             (CARGO)
                                                                                                                                      DRAFT OF VESSEL
    -JI,                                                                                                                Sailing:------ Forward--·---.. Aft

    ~ ,.,.. I   ~NK LAST FILLED                  INCHES     TONS     COMPARTMENT               TEMPERATURE              Arriving:       Forward        Aft
                                                                                                                                                        --·--
                                                                                           4   8    12    A.M   P.M.    Mean                                ----
     --{,'                                                                                                              A.M. -- Forward _ _Aft
     __.,,!.,.,.....__l -- ....                                                                                                            --- Mean -·--
                                                                                                                        P.M. - Forward
            1'                                                                                                                         --- --- Mean ---
                                                                                                                                           Aft

     -_     i               J
                                                                                                                                     FUEL OIL AND WATER

     __                     4                                                                                           Sailing: Brls. Fuel Oil _ _ _ Water, Tons _ _
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            I.:                                                                                                         Arriving: Brls. Fuel Oil ...- - - Water, Tons ____
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            l..-                                                                                                        Received: Brls. Fuel Oil ·----Water, Tons_._
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                                                                           ENGINE PERFORMANCE

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                cOlSlANCE            SPEED
                                       BY
                                             AVERAGE
                                              R.P.M.
                                                        AVERAGE
                                                           SLIP
                                                                     FUEL OIL
                                                                    CONSUMED
                                                                                 FUEL OIL
                                                                                 ON HAND
                                                                                             FRESH WATER
                                                                                              CONSUMED
                                                                                                             FRESHWATER
                                                                                                               ON HAND
                                                                                                                           NUMBER
                                                                                                                           BOILERS
                                                                                                                                      AVERAGE
                                                                                                                                         SUP
                                                                                                                                                   DISTANCE
                                                                                                                                                      BY
                                                                                                                                                                   DETENTION
                                                                                                                                                                   STEAMING
            i,BY ENGINE             ENGINE             (l'ERCENT)   (BARRELS)   (BARRELS)       (TONS)          (TONS)      IN USE
                                                                                                                                      (PERCENT)     ENGINE

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                ·:,                  BALLAST TANKS
                                                                      .,             REFRIGERATION                                       DRAFT OF VESSEL
 --,.                            PORT, CENTER, STARBOARD                                    (CARGO)                         Sailing:------ Fo1ward _______ Aft
            t,.c--•
 - / <TANK                        LAST FILLED    INCHES      TONS     COMPARTMENT                  TEMPERATURE              Arriving: _ _ _ _ _ Forward _ _ _ _ All

                                                                                                   8    12                  Mean ----------------·-·-
    ·.    l                                                                                 4                 A.M   P.M.
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                                                                                                                            P.M. _. Forward      Atl       Mean
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 -~H                         3
                                                                                                                                           FUEL OIL AND WATER
 -..:
       '                     4                                                                                              Sailing: Brls. Fuel Oil _ _ _ Water, Tons _ _
 _ i:                        5                                                                                              Arriving: Brls. Fuel Oil·--·--- Water, Tons _ _
   "                                                                                                                        Received: Brls. Fuel Oil        Water Tons
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     .i                                                                              ENGINE PERFORMANCE

-                                                           AVERAGE         FUEL OIL         FUEL OIL        FRESHWATER                                              Iv.AL            JUJAL
                                  SPEED                                                                                         FRESHWATER          NUMBER
                     J)JSfANCE     BY       AVERAGE
                                                              SLIP         CONSUMED          ON HAND          CONSUMED            ON HAND           BOILERS         AVERAGE         DISTANCE        DETENTION
                    'BY ENGINE    ENGINE
                                             R.P.M.        (PERCENT)       (BARRELS)        (BARRELS)           (TONS)             (TONS)            IN USE           SLIP              BY          STEAMING
                                                                                                                                                                   /PERCENT)         ENGINE


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                                   BALLAST TANKS                                                    REFIUGERATION                                                      DRAFT OF VESSEL
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              \                PORT, CENTER, STARBOARD                                                    (CARGO)
             - LAST FILLED
·- ............'fTANK
              r
                                                   INCHES         TONS        COMPARTMENT                           TEMPERATURE
                                                                                                                                                      Sailing: - - - - - · - Forward _____ .. ·-·-- Aft
                                                                                                                                                      Arriving: _ _ _ _ Forward
                                                                                                                                                                                             --     Aft
               i'                                                                                           4      8       12      A.M      P.M.      Mean - -. ·------···--~---·-------
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                                                                                                                                                                               - - Mean -···--
                                                                                                                                                                                   Mean -----

                                                                                                                                                                     FUEL OIL AND WATER
                                                                                                                                                                                       --

-)                       4                                                                                                                            Sailing: Brls. Fuel Oil ____ Water, Tons _ _
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                                                                                                                                                      Arriving: Brls. Fuel Oil ...... _____ Water, Tons .. ____
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                                                                              ENGINE PERFORMANCE
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                                                            AVERAGE        FUEL OIL     FUEL OIL    FRESHWATER       FRESHWATER     NUMBER       !VIAL        lUJAL
                                         SPEED
                  tl:1~F
                     .IG NE                BY
                                         ENGINE
                                                  AVERAGE
                                                   R.P.M.
                                                               SLIP
                                                            (PERCENT)
                                                                          CONSUMED
                                                                          (BARRELS)
                                                                                        ON HAND
                                                                                       (BARRI!LS)
                                                                                                     CONSUMED
                                                                                                       (TONS)
                                                                                                                       ON HAND
                                                                                                                        (TONS)
                                                                                                                                    BOILERS
                                                                                                                                     IN USE
                                                                                                                                                AVERAGE
                                                                                                                                                  SLIP
                                                                                                                                               (PERCENT)
                                                                                                                                                            DISTANCE
                                                                                                                                                               BY
                                                                                                                                                             ENGINE
                                                                                                                                                                         DETENTION
                                                                                                                                                                         STEAMING




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                                          BALLAST TANKS                                      REFRIGERATION                                        DRAFT OF VESSEL
--            PORT, CENTER, STARBOARD                                               (CARGO)                                           Sailing: _____ Forward-----· Aft
--i.ciT-AN-K-~LA_S_T-FI-L-LE--D-r-lN-C-.H-E-S-.--T-ON_S_'..-C-'O_M_P_A,....RT_M_E_N_T--,.---T=E.,....M,,...PE--:RA:-:--:T--U-RE----tr Arriving:---- Forward _ _ _ Aft

                                                                                                    4   8      12     A.M    P.M.    Mean _ _ _ _ _ _· - - - - - · · · · · - -
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    _ _Jl,.,      -+---+---+---t-----1---------+--+----t-~t---t----t A.M. - Forward _ _ Aft _ _ Mean _ _
    -."l;i:.;-;__2+---+----+-----+---t--------+--+---+----t---1t-----t P.M. -·Forward ___ Aft _ _ Mean ___
    _ .r:                      3
                                                                                                                                                 FUEL OIL AND WATER
    -1.                       4                                                                                                         Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
          ·'                                                                  - - - - - - i - - - - 1 - - - i - - - + - - - + - - - - 1 Arriving: Brls. Fuel Oil ___ Water, Tons·---
    -                          5
         - - - - + - - + - - · - + - - - - - - + - - - - a - - - · - · · - - - - - + - - - 4 - + - - - - + - - - + - - - 1 Received: Brls. Fuel Oil _ _ Water, Tons _ _
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                                                                                                                                                                       Chief Mate

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                                            SPEED              AVERAGE         FUEL OIL    FUEL OIL   FRESHWATER    FRESHWATER       NUMBER
                  ·r1STANCE                         AVERAGE                   CONSUMED     ON HAND     CONSUMED       ON HAND                    AVERAGE           DISTANCE     DETENTION
                                              BY                 SLIP                                                                BOILERS
                     HNGJNE                ENGINE
                                                     R.P.M.   (PERCENT)       (BARRELS)   (BARRELS)      (TONS)        (TONS)         !NUSE         SLIP              BY        STEAMING
                                                                                                                                                 (PERCENT\          ENGINE




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                                              BALLAST TA'NKS                                   REFRIGERATION                                       DRAFT OF VESSEL
                                          PORT, CENTER, STARBOARD                                 (CARGO)                            Sailing:                Forward
                                                                                                                                                                     --····- All
                                                                                COMPARTMENT               TEMPERATURE                Arriving:                Forward        All
                                           LAST FILLED              TONS                                                                                                 ---
                                    -1J
                                                         INCHES
                                                                                                      4   8    12       A.M   P.M.   Mean              -----------·---
                                                                                                                                     A.M. - Forward __Aft - - - Mean ----
                              _2.t___                                                                                                P.M. - Forward
                                                                                                                                                      ---Aft - - Mean - -
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                              --4 --·                                                                                                             FUEL OIL AND WATER
                                                                                                                                     Sailing: Brls. Fuel Oil _ _ Water, Tons ___
                                                                                                                                     An-iving: Brls. Fuel Oil-·--- Water, Tons ___
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           /"~~                                                                                                                      Received: Brls. Fuel Oil ____ Water, Tons _ _
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                                                                                     ENGINE PERFORMANCE
            ,·                       SPEED               AVERAGE              FUEL OIL              FUEL OIL    FRESHWATER    FRESHWATER                   JUJAL       ,u,AC
                                                                                                                                            NUMBER
........                ~~1~i         BY
                                     ENGINE
                                              AVERAGE
                                               R.P.M.       SLIP
                                                         (PERCENT)
                                                                             CONSUMED
                                                                             (BARRELS)
                                                                                                    ON HAND
                                                                                                   (BARRELS)
                                                                                                                 CONSUMED
                                                                                                                   (TONS)
                                                                                                                                ON HAND
                                                                                                                                 (TONS)
                                                                                                                                            BOILERS
                                                                                                                                             !NUSE
                                                                                                                                                          AVERAGE
                                                                                                                                                            SLIP
                                                                                                                                                         /PERCENT)
                                                                                                                                                                     DISTANCE
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                                                                                                                                                                                  DETENTION
                                                                                                                                                                                  STEAMING



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                 r                    BALLAST 'rANKS                                                      REFRlGERATION                                     DRAFT OF VESSEL
-                .,               PORT, CENTER, STARBO ARD                                                     (CARGO)                         Sailing:·------ Forward--·--·- All
-                !fANK             LAST FILLED    INCHES         TONS            COMPARTMENT                        TEMPERATURE                Arriving: _ _ _ _ Forward      Aft
                                                                                                               4    8    12    A.M   P.M.      Mean -                ···-------·-·-
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                                                                                                                                               A.M. ····· Fotward _ _An - - Mean --·-
- f~--2                                                                                                                                        P.M. - Forward - - - ·Aft
                                                                                                                                                                       --   Mean
                                                                                                                                                                                     --
- 3                                                                                                                                                       FUEL OIL AND WATER
-                             4                                                                                                                Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                                                                                                                                               Arriving: Brls. Fuel Oil·-·-- Water, Tons--·-
--:         5
    '--·---                                                                                                                                    Received: Brls. Fuel Oil - - ·Water' Tons
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                                               R.P.M.
                                                          AVERAGE
                                                            SLIP
                                                                      FUEL OIL
                                                                     CONSUMED
                                                                                   FUEL OIL
                                                                                   ONIJAND
                                                                                               FRESH WATER
                                                                                                CONSUMED
                                                                                                              FRESHWATER
                                                                                                                ON HAND
                                                                                                                            NUMBER
                                                                                                                            BOILERS
                                                                                                                                         1v1AL
                                                                                                                                        AVERAGE
                                                                                                                                          SLIP
                                                                                                                                                    mW.ittE
                                                                                                                                                     BY
                                                                                                                                                                DETENTION
                                                                                                                                                                STEAMING
                                    ENGINE               (PERCENT)   (BARRELS)    (BARRELS)       (TONS)         (TONS)      IN USE
                 ,,.                                                                                                                   (PERCENT)     ENGINE

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           ' ..,                                                                       REFRIGERATION
           't                        BALLAST TANKS                                                                                        DRAFT OF VESSEL
-mx                               PORT, CENTER, STARBOARD                                     (CARGO)                        Sailing: --------· Forward-------· Aft
- ,[TANK
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             l'!r;··
         LAST FILLED                               INCHES     TONS     COMPARTMENT                  TEMPERATURE              Arriving: _ _ _ _ Forward
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                              3
-r                                                                                                                                      FUEL OIL AND WATER
-                             4                                                                                              Sailing: Brls. Fuel Oil _ _ _ Water, Tons _ _
_,                            5                                                                                              Arriving: Brls. Fuel Oil ··-·- Water, Tons·--

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             i   -6                                                                                                          Received: Brls. Fuel Oil _ _ Water, Tons··-


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                    SPEED                                AVERAGE        FUEL OIL         FUEL OIL        FRESHWATER         FRESHWATER          NUMBER
         · . ir~M~ ENGINE
                      BY
                                              AVERAGE
                                               R.P.M.
                                                           SLIP
                                                        (PERCENT)
                                                                       CONSUMED
                                                                       (BARRELS)
                                                                                         ON HAND
                                                                                        (BARRELS)
                                                                                                          CONSUMED
                                                                                                            (TONS)
                                                                                                                              ON HAND
                                                                                                                               (TONS)
                                                                                                                                                BOILERS
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                                                                                                                                                                   SLIP
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                                                                                                                                                                                              STEAMING

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                                      BALLAST TANKS                                             REFRIGERATION                                                         DRAFT OF VESSEL
            r
-- i.'                             PORT, CENTER, STARBOARD                                              (CARGO)                                  Sailing:-----·- Forward _______ Aft

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                                    LAST FILLED   INCHES     TONS          COMPARTMENT
                                                                                                        4    8
                                                                                                              TEMPERATURE
                                                                                                                       12    A.M         P.M.
                                                                                                                                                 Arriving:
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                                                                                                                                                                  Forward ---- Aft
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                               4                                                                                                                 Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                                                                                                                                                 Arriving: Brls. Fuel Oil-·-··- Water, Tons _ _
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                                                                                                                                                 Received: Brls. Fuel Oil ___ Water, Tons _ _
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'ENTii                                                                      ENGINE PERFORMANCE

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                                    SPEED    AVERAGE     AVERAGE         FUEL OIL    FUEL OIL    FRESH WATER    FRESHWATER    NUMBER         AVERAGE        DISTANCE      DETENTLON
                      ~,,NCE          BY                    SLIP        CONSUMED     ON HAND      CONSUMED        ON HAND     BOILERS
                         NGINE                R.P.M.     (PERCENT)      (BARRELS)   (BARRELS)       (TONS)         (TONS)                      SLIP             BY        STEAMING
                                    ENGINE                                                                                     !NUSE        (PERCENT)          ENGINE




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                                    BALLAST TANKS                                         REFRIGERATION                                       DRAFT OF VESSEL
                                 PORT, CENTER, STARBOARD                                        (CARGO)                        Sailing: _______ Forward _ _ _ Aft
----'. fANK                       LAST FILLED    INCHES       TONS        COMPARTMENT                 TEMPERATURE              Arriving:_               Forward - - - All
                                                                                                4    8     12    A.M   P.M.    Mean                     ·-·-
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--.!:                                                                                                                                        FUEL OIL AND WATER
-r                           4                                                                                                Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                                                                                                                              Arriving: Brls. Fuel Oil _____ Water, Tons _____
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                                                                                                                              Received: Brls. Fuel Oil ____ Water, Tons
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                                                                       ENGINE PERFORMANCE


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                     ,:,:           SPEED              AVERAGE      FUEL OIL    FUEL OIL     FRESHWATER          FRESHWATER         NUMBER            lUlAL            IU AL
                     ';l)/ST,\~CE            AVERAGE                            ON HAND                                                             AVERAGE         ll!STANCE       DETENTION
                                     BY       R.P.M.      SUI'     CONSUMED                   CONSUMED             ON HAND          BOILERS
                                                                                                                                                       SLIP             BY          STEAMING
                     IYfN(i/NE      ENGINE             (PERCENT)   (BARRELS)   (BARRELS)        (TONS)              (TONS)           IN USE
                                                                                                                                                    (PERCENT)        ENUINE


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                                     BALLAST TANKS                                  REFRIGERATION                                                      DRAFT OF VESSEL
- . -_                   PORT, CENTER, STARBOARD                                                                          (CARGO)                         Sailing: _ _ _ _ Forward _ _ _ _ Aft
--.-ll!l!.--AN-:K--,----LA-:---::S=-cTF=IL-,----LE=<D,--------,---:-:-IN--:-::C::-:H=Es,----,-·-ro-N-S_C_O_M-PA_R_T_M-EN-T--.---TE_M_P_ER-A-TU_R_E------1 Arriving:         Forward _ _ _ Aft
              r··· I                                                                        4      8      12       A.M      P.M.      Mean - - - - - - - - - - - - - - - - -
- r··-2                                                                                                                               A.M. -- Forward _ _ All _ _ Mean ____ _
        -                                                                                                                             P.M. -Fo1ward _ _ Aft _ _ Mean _ _
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        fliir---!-----+--+-----t----1i-------t--i---t---i---t---1                                                                                     FUEL OIL AND WATER
~-; 4                                                                       Sailing: Brls. Fuel Oil _ _ Water, Tons __ _
                                                                            Arriving: Brls. Fuel Oil ____ Water, Tons ____ _
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  Official Sign off of Crew: MT FAT CROvV imo 7022291



  Name                                           Date



  Captain Cariton Rhoden                         25 April 201 7

  Ch. Off. Norman Thompson                       25 April 201 7

  Jacob De Cunha                                 25 April 201 7

  Nicholas Thompson                              25 April 201 7

  Debbond Rhoden                                 25 April 201 7




  All crew hereby signoff.



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                      IMON: 7022291
                      CALI, SIGN: 5VCG
                      MASTER
                     LOMETOGO
                     SIG:__
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                                                                            DISC-00515
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   14              41
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                                                                                                            REMARKS




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                                                                                ENGINE PERFORMANCE
                                                   AVERAGE               FUEL OIL              FUEL OIL             FRESHWATER               FRESH WATER               NUMBER
                               AVERAGE                                                                                                                                                     AVERAGE              DISTANCE             DETENTION
                                R.P.M.
                                                      SLIP              CONSUM!iD              ON HAND               CONSUMED                  ON HAND                 BOILERS               SLIP                    BY              STEAMING
                                                   (PERCENT)            (BARRELS)             (BARRELS)                (TONS)                   (TONS)                   IN USE
                                                                                                                                                                                           PERCENT)               ENGINE




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                                                                                                        REFRIGERATION                                                                          DRAFT OF VESSEL
                                                                                                                                             (CARGO)                                                              Sailing:--·--- Forward _____ Aft
ll&,,.;.,,,...,.-,-c-::=-::::-:-=-::--.-::IN-:-:C::;;:.:H-:::E:-:::S-.--:::T:-:::O-:-:N;;::-S-t--;:;C::::O:--:M:::P-:-AR~T:::::M-;,E;:;::N-::T;::--,------;;1::;;,E:--:M;;;P-;::;,ERA;;-:-;T;;;U-;-;:R:-;:E:----1 Arriving:       Forward      Aft
             --,-----+------+-----+---------+--,-4---,---cc8---,-----:-::l2---.,.-A.,....,...,1'vl---,---::-P.-:-M:--.-t Mean _ _ _ __
<llll!iF>--t----+---+----t---t-------i---t--i-----t---t----t A.M. -- Forward _ _ Aft                                                                                                                                            Mean
a.;...-+----+---1----,-----tt--------t---+---t--r----+-----a P.M. - Forward _ _ _Aft                                                                                                                                            Mean
                                                                                                                                                                                             FUEL OIL AND WATER
                                                 Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
;,5~+---+----t----i----a-----------t-,-r--,-,--. Arriving: Brls. Fuel Oil-·- Water, Tons _____
:,.5.,.._4--_-1----+----+----1--------r--+-,----+---t----t Received: Brls. Fuel Oil _ _Water, Tons _ _




                                                                                                                                                                                                                                 Chief Mate




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                                            SPEED
                                              BY
                                            ENGINE
                                                     AVERAGE
                                                      R.P.M.
                                                                  AVERAGE
                                                                    SLIP
                                                                 (PERCENT)
                                                                               FUEL OIL
                                                                              CONSUMED
                                                                              (BARRELS)
                                                                                           FUEL OIL
                                                                                           ON HAND
                                                                                          (BARRELS)
                                                                                                       FRESH WATER
                                                                                                        CONSUMED
                                                                                                          (TONS)
                                                                                                                      FRESH WATER
                                                                                                                        ON HAND
                                                                                                                         (TONS)
                                                                                                                                         NUMBER
                                                                                                                                         llOILERS
                                                                                                                                           IN USE
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                                                                                                                                                                 DISTANCE
                                                                                                                                                                    BY
                                                                                                                                                                  ENGINE
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                       ",                       BALLAST T~NKS                                   REFRIGERATION                                          DRAFT OF VESSEL
                                   PORT, CENTER, STARBOARD                                            (CARGO)                             Sailing:--··--· Forward·--- Att
                                  - LAST FILLED                                                                                           Arriving:                   Alt
                             I(                          INCHES       TONS      COMPARTMENT                 TEMPERATURE                                   - Forward
                    ~-I                                                                               4    8     12    AM     P.M.        Mean          ·---------···-·--
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                    .··· l                                                                                                                                           - - Mean - -
                                                                                                                                          P.M. - Forward _ _ _Aft
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                                        .....                                                                                                                        - - Mean - -
--'-' /sic· 3                                                                                                                                            FUEL OIL AND WATER
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               1~(. 4                                                                                                                     Sailing: Brls. Fuel Oil _ _ Water, Tons ___
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                                                                                                                                          Arriving: Brls. Fuel Oil--··-- Water, Tons ___
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                   'o::-:-t-                                                                                                              Received: Brls. Fuel Oil ___ Water, Tons--
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                                                                                                     REMARKS




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                                                                                        ENGINE PERFORMANCE
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                                                                     AVERAGE      FUEL OIL    FUEL OIL    FRESHWATER    FRESHWATER    NUMBER        IUIAL          IUIAL
                                                  SPEED   AVERAGE                                                                                 AVERAGE        DISTANCE      DETENTION
                                         hl!NE     BY      R.P.M.
                                                                       SUP       CONSUMED     ON HAND      CONSUMED       ON HAND     BOILERS
                                                                                                                                                     SLIP           BY         STEAMING
                                                 ENGINE             (PERCENT)    (BARRELS)   (BARRELS)       (TONS)        (TONS)      IN USE     (PERCENT)       ENGINE




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                                                 BALLAST TANKS                                    REFRIGERATION                                      DRAFT OF VESSEL
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                              ~f )           PORT, CENTER, STARBOARD

                                                 AST FILLED   INCHES      TONS     COMPARTMENT
                                                                                                         (CARGO)


                                                                                                         4
                                                                                                              TEMPERATURE
                                                                                                              8    12    A.M   P.M.
                                                                                                                                       Sailing: _ _ _ _ _ Forward _ _ _ Atl
                                                                                                                                       Arriving: _ _ _ Fo1ward
                                                                                                                                       Mean --------··-
                                                                                                                                                                                    Aft
                                                                                                                                                                                     .. --
                              i---                                                                                                     A.M. -· Forward
                                                                                                                                                       - -Aft - - Mean -·----
    --i ~~~ -··· ..                                             -
                                                                                                                                       P.M. - Forward     Aft
                                                                                                                                                       --·-       Mean -----
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                                                                                                                                                    FUEL OIL AND WATER


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                                                                                                                                       Sailing: Brls. Fuel Oil _ _ Water, Tons ___
                                                                                                                                       Arriving: Brls. Fuel Oil _____ Water, Tons ......- -

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                                                                                                                                       Received: Brls. Fuel Oil _____Water, Tons _ _


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                                                                                  REMARKS
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                                                               ENGINE PERFORMANCE
                    SPEED                  AVERAGE        FUEL OIL       FUEL OIL      FRESH WATER        FRESHWATER   NUMBER
                             AVERAGE          SLIP                                                                               AVERAGE     DISTANCE     DETENTION
                     BY                                  CONSUMED        ON HAND        CONSUMED            ON HAND    BOILERS
                    ENGINE    R.P.M.       (PERCENT)     (BARRELS)      (BARRELS)         (TONS)             (TONS)     IN USE        SLIP     BY         STEAMING
                                                                                                                                 (PERCENT    ENGINE




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                                                                               REFRIGERATION                                          DRAFT OF VESSEL
               PORT, CENTER, STARBOARD                                              (CARGO)                             Sailing: ______ Forward _______ Aft
                                   INCHES        TONS       COMPARTMENT                      TEMPERATURE                Arriving:        Forward _ _ _ Aft
                                                                                                                        Mean _________________ _
                                                                                      4     8 12      A.M      P.M.
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         'llio---l----+--+-----+---+-------+---,1---+---+--1------1 P.M. - Forward _ _ _Aft                                                             Mean
                                                                                                                                   FUEL OIL AND WATER
                                                                                                                    Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                                      - - - l - - - - · - - - - - - - - + - - - 1 - - 1 - - - - + - - - - 1 - - - 1 Arriving: Brls. Fuel Oil·---- Water, Tons ... __
          li-+---+--1-----t-----a--------r-----t--i---;------t---. Received: Brls. Fuel Oil _ _ Water, Tons _ _




                                                                                                                                                        Chief Mate




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                                                                                        ENGINE PERFORMANCE
                                              SPEED   AVERAGE
                                                                       AVERAGE     FUEL OIL         FUEL OIL        FRESHWATER           FRESHWATER           NUMBER
                                                                                                                                                                              AVERAGE          [)!STANCE       DETENTION
                                                BY     R.P.M.            SLIP     CONSUMED          ON HAND          CONSUMED              ON HAND            BOILERS
                                                                                                                                                                                SLIP               BY          STEAMING
                                             ENGINE                   (PERCENT)   (BARRELS)        (BARRELS)           (TONS)               (TONS)             IN USE        (PERCENT)          ENGINE




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                                          .
                                               BALLAST TANKS                                               REFRIGERATION                                                         DRAFT OF VESSEL
                          ;/
 --.:.                  ~(:·               PORT, CENTER, STARBOARD                                               (CARGO)                                       Sailing: ______ Forward ________ All
 --,.,_ ~\lK                                LAST FILLED   INCHES           TONS     COMPARTMENT                            TEMPERATURE                         Arriving:                     Forward - - - Aft
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     :'::1               .. I                                                                                      4      8       12       A.M       P.M.      Mean                                                     ....•
 ~                      <                                                                                                                                      A.M. - Forward _ _ _Aft                     Mean
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                                                                                                                                                               P.M. - Forward _ _ _Aft                     Mean - - -
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             ' :,. 3
 -:.:.                                                                                                                                                                         FUEL OIL AND WATER
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                           ,:, 4                                                                                                                               Sailing: Brls. Fuel Oil _ _ Ware.r, Tons _ _


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                                                                                                                                                               Arriving: Brls. Fuel Oil ____ Water, Tons ____
                                                                                                                                                               Received: Brls. Fuel Oil _____ Water, Tons ___


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                                                                        ENGINE PERFORMANCE


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                                     SPEED     AVERAGE   AVERAGE     FUELOIL   FUELOIL      FRESHWATER    FRESHWATER    NUMBER       AtEMGE        DISTANCE           DETENTION
                                      BY                   SLIP     CONSUMED   ON HAND       CONSUMED       ON HAND     BOILERS        SLIP
                                                                                                                                                       BY             STEAMING
                                                                                                                                                    ENGINE




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                                       BALLAST TANKS                               REFRIGERATION                                        DRAFT OF VESSEL
                                  PORT, CENTER, STARBOARD                                  (CARGO)                         Sailing:-----··- Forward----·-- Aft
                             '     LAST FILLED     !NC11ES . TONS     COMPARTMENT        -~---T-E-M-PE-;R_A_T-UR_E_•----11 Arriving: _____ Forward _ _ Aft

                                                                                           4    8    12    A.M   P.M.    Mean------·--·--·----
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---11:;'--+---+---+----+---1---------t---\--+--+--+--I A.M. ·- Forw!lrd _ _ Aft _____ Mean · · -
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-c1~--,;_·-i--+----1- - - - + - - - - - - - - - - · - + - - - - - - 1 - - + - - - - + - - - + - - - 1 P.M. -- Forward ___ Aft _ _ Mean _ _
-·---'IIWl-,.-l---l---+-----,1----+-------t--t--t----t----11----1
       i J                                                                                                                            FUEL OIL AND WATER
- - - j ;,,;· 4                                                                                                          Sailing: Brls. Fuel Oil _ _ Water, Tons _ _

------:'· ~:' 5                                                                                                          Arriving: Brls. Fuel Oil ___.. _ Water, Tons·-··---·-
                                                                                                                         Received: Brls. Fuel Oil ___ Water, Tons ___ _
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                                                                                                                                                                 Chief Mate

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                                                                   REMARKS




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       SPEED      AVEJ(AGE       AVERAGE                    FUEL OlL    FRESHWATER      FRESHWATER      NUMBER
                                                                                                                     AVERAGE      DISTANCE         DETENTION
         BY        R.P.M.
                                   SLIP                     ON HAND      CONSUMED         ON HAND       BOlLERS
                                                                                                                       SLIP          BY            STEAMING
       ENCilNE                  (PERCENT)                  (BARRELS)       (TONS)          (TONS)        IN USE
                                                                                                                     PERCENT)      ENGINE




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                    r ~-- a"}; t?J D.            /)17'H '       ¢.                                'ff. '7 Af I           .' <fi S CJ        L1E7      6'8- f.


                                                               REFRIGERATION                                         DRAFT OF VESSEL
                                                                    (CARGO)           - - - - - 1 Sailing: _ _ _ _ _ Forward--··----- Aft
                                    TONS      COMPARTMENT                   TEMPERATURE                Arriving: ·-------Forward _ _ _ Ati
                                                          4  8  12 A.M P.M.                            Mean
                                            -1-------+--1---+--+--1------1 A.M. - Forward _ _Al\                                            Mean
              •--!-----1----.---------+--+-l-----l---+---I P.M. - Forward _ _ _Aft                                                          Mean
                                                                                                                          FUEL OIL AND WATER
                                                                                                           Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                                                        -----l--+---+--1---+---I Arriving: Brls. Fuel Oil ____ Water, Tons __ _
                             - - ! - - - - . a - - - - - - - - + - - + - - - 1 - - - - - 1 - - + - - - 1 1 Received: Brls. Fuel Oil ____ Water, Tons _ _




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ETENT! '                                                                  ENGINE PERFORMANCE
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                                                AVERAGE
                                                 R.P.M.
                                                           AVERAGE
                                                             SLIP
                                                          (PERCENT)
                                                                       FUEL OIL
                                                                      CONSUMED
                                                                      (BARRELS)
                                                                                            FUEL OIL
                                                                                            ON HAND
                                                                                           (BARRELS)
                                                                                                             FRESHWATER
                                                                                                              CONSUMED
                                                                                                                (TONS)
                                                                                                                          FRESHWATER
                                                                                                                            ON HAND
                                                                                                                             (TONS)
                                                                                                                                       NUMBER
                                                                                                                                       BOILERS
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                                                                                                                                                    SLIP
                                                                                                                                                             DISTANCE
                                                                                                                                                               BY
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                                                                                                                                                                                  STEAMlNG
                                                                                                                                                 (PERCENT)    ENGINE




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     .,                                BALLAST TANKS                                             REFRIGERATION                                      DRAFT OF VESSEL                    /
----,.... ,,                       PORT, CENTER, ST ARBO ARD                                        (CARGO)                             Sailing: ______ Forward__                      f Aft
--··~m:·. ·Ti. LLAMSITTFFiiLLILEiEDDlrrN~CC'HHEE:SslTTOONNSS---.-CCX'O»M:.iiPP!A\!RtiT~M:.iiEEJN~'ff,--TTTIEMMiPPTIERRAATTUURREE--, Mean
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                                                                                                                                    Arriving: - - - - Forward - - - An
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                                                                     4     8    .12     A.M P.M.
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                5.--+---t---+----+-----a--------t----i----i----t-----t-----a          FUEL OIL AND WATER
                                                                       Sailing: Brls. Fuel Oil _ _ _ Water, Tons _ _
---.:,,:Iw;,,~:-5+----+----i----t----1t----------+--+--+----+--+----11 Arriving: Brls. Pue! Oil _ _ Water, Tons ______ _
           .fi,,,-+--+----t-----t----t-----------f---+--+---+--+---1 Received: Brls. Fuel Oil ____Water, Tons ___ _
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     LOGOFTHE S.S.}
                        M.V.
                                                                                                                                                            -
     HOUR       LOG ,__.
                        STANDARD
                      .-----
                                COURSE
                                       GYRO        STEERING
                                                                       WIND
                                                                   DJRECTION    FORCE
                                                                                        BAROMETER
                                                                                                          TEMPERATURE

                                                                                                           AIR      WATER
                                                                                                                                   GYRO
                                                                                                                                  COMPASS
                                                                                                                                   ERROR
                                                                                                                                              STANDARD
                                                                                                                                               COMPASS
                                                                                                                                              DEVIATION
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    LATITUDE          LONGITUDE        COURSE       DISTANCE          TOTAL    LENGTH OF DAY             TOTAL     AVERAGE           TOT AL AVERAGE DF
                                                                      DISTANCE                           TIME AT SEA SPEED                SPEED           --.,                      ...




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                                                                  COFFERDAMS                COFFERDARMS
                 RUNNING LIGHTS                                       OR                         OR                                        LOOKOUTS
                                                                  PORT BILGES             STARBOARD BILGES
-·                                                                                                                                                                                   fl I
                     BURNING                            NO.          A.M.       P.M.    No.       A.M.   P.M.      HOURS                         NAMES
                                                                                                                                                                  !1'0!1,1
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 Midnigl~_ 06 ,~ (.) O ____ A.M.                                                                                                                            r i. '~.
 ___ .l ._' OQ______ ,,__ P.M. lo Midnight                    2                           2                                                               +·
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                DRINKING WATER                                3                           3                      1/l·oo ~Al~ [)Ft c.~t                        j
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                                                                                               REMARKS


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                 Al~ lt\!'1 CJJ.,I12.. ()J:2. (;(II/ME-fl//13 Y2                                                  > '7) (('N
                           (~          O            ~~ '/7,r./' J-k.r-L/11/lrlJJJ6--z_                                                                                I




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                                                                        ENGINE PERFORMANCE
                                               AVERAGE           FUEL OIL           FUEL OIL         FRESHWATER            FRESHWATER            NUMBER
                              AVERAGE            SLIP           CONSUMED            ON HAND           CONSUMED               ON HAND                              AVERAGE           DISTANCE          DETENTION
                                                                                                                                                 BOILERS
                               R.P.M.         (PERCENT)         (BARRELS)          (BARRELS)            (TONS)                (TONS)              IN USE            SLIP                 BY           STEAMING
                                                                                                                                                                  PERCENT)            ENGINE




            ;s:oo




                         BALLAST TANKS                                                                  REFRIGERATION                                                 DRtGT                         OF VESSEL ·~
                   PORT, CENTER, STARBOARD                                                                      (CARGO)                                                    Sailing: g, ~ Forward /?, 3:,.. An
     ,-.,;.~',(-K..,.-LA-ST-F-IL-L-ED--,-!N-C:-::H=Es=--r-T=o=-=-N-:::S,......_-:C:--=0-:-M:::P-:-A=RT=M-::E:::N-:::T:--r-----=TE:::M-::P:-::E:-::::R-:--A=Tu:-::R~E:----. Arriving:               Forward     An
     ·-..-1---.---+---+----1--------t--:--r-::--r-:-::-.~:-:-i--::-:-:---. Mean                                                                                                      / • }-6. U,,.
                                                                                                    4       8        12       A.M        P.M.
 a--~L.:~-+---l----+----1--------,f--+-+--+--+--I A.M. - Forward _ _Aft                                                                                                                           Mean
                                                                                                                                                   P.M. - Forward ___ Aft                         Mean
    ~i,.;--+--+---+----+-----t--------t---i----1t---t----t----.
                                                                                                                                                                    FUEL OIL AND WATER
                                                                Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
                                        ·-+--+--+----+-~1-----1 Arriving: Brls. Fuel Oil ____ Water, Tons ....__ _
     .~--1---+---f----+----1-------·-i--+---1---+---+----1 Received: Brls. Fuel Oil _ _ Water, Tons _ _




                                                                                                                                                                                                   Chief Mate

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       LOG OF THE                                            __                                                                FROM
                                                                                                                                         -------------'0
                                     M.V.

                                             COURSE                                       WIND             BAROMETER
                                                                                                                                   TEMPERATURE
                                                                                                                                                          GYRO
                                                                                                                                                         COMPASS
                                                                                                                                                                         STANDARD
                                                                                                                                                                          COMPASS
                                                                                                                                                                                                  -
                                                                                                                                                                                               SO\-
       HOUR                 LOG
                                     STANDARD           GYRO         STEERING        DIRECTION     FORCE                           AIR     WATER           ERROR         DEVIATION                -·--
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       LATITUDE                     LONGITUDE           COURSE        DISTANCE          TOTAL    LENGTH OF DAY                TOTAL     AVERAGE                TOTAL AVERAGE                DErn
                                                                                        DISTANCE                              TIME AT SEA SPEED                    SPEED
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                                                                                     COFFERDAMS                      COFFERDARMS
                             RUNNING L!(JIITS                                            OR                              OR                                          LOOKOUTS
                                                                                     PORT BILGES             STARBOARD BILGES
                                  BURNING                                 NO.           A.M.       P.M.    No.         A.M.    P.M.        HOURS                             NAMES
                                                                                                                                                                                                                     1'(>1-'
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                                                                                                       REMARKS




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                                                                                      ENGINE PERFORMANCE
                                                    SPEED              AVERAGE     FUEL OIL     FUEL OIL    FRESHWATER      FRESHWATER    NUMBER
                                                            AVERAGE                                                                                      AVERAGE      DISTANCE          DETENTION
                                                     BY      R.P.M.      SLIP     CONSUMED      ON HAND      CONSUMED         ON HAND     BOILERS
                                                                                                                                                           SLIP            BY           STEAMING
                                                   ENGINE             (PERCENT)   (BARRELS)    (BARRELS)       (TONS)          (TONS)      IN USE
                                                                                                                                                         PERCENT)         ENGINE




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          ,:                                     BALLAST TANKS                                      REFRIGERATION                                            DRAFT OF VESSEL              ~

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                                             PORT, CENTER, STARBOARD                                       (CARGO)                         Sailing: 3. 2. 3V"lForward 0, j              ~ Aft
                                                 LAST FILLED    INCHES     TONS     COMPARTMENT                 TEMPERATURE                A1Tiving: '          Forward                     Aft
               ,·                        l                                                                 4    8      12    A.M   P.M.    Mean      I·       7&-...,..
~                                                                                                                                          A.M. -- Fo1ward _ _Atl
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                                                                                                                                                          FUEL OIL AND WATER
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                                                                                                                                           Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
          ..                                                                                                                               Arriving: Brls. Fuel Oil _ _ _ Water, Tons_ ..___
                            :i 5
                                                                                                                                           Received: Brls. Fuel Oil _ _ _ Water, Tons ____
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                                          }-·-p-._-_~_·_r__C/2JJ
     LOG Of1' THE S. S.
                                  M.V.


                                           COURSE
                                                           ___;-v,1_._,


                                                                                 WIND
                                                                                                                   FROM


                                                                                                                    TEMPERATURE
                                                                                                                                            GYRO       STANDARD
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     HOUR               LOG                                                                       BAROMETER                                COMPASS      COMPASS       S~~~l~I ·.

                                  STANDARD          GYRO     STEERJNU        DIRECTION    FORCE                      AIR      WATER         ERROR      DEVIATION        ~.,.,..,_,,.._,,



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  LATITUDE                      LONGITUDI~          COURSE    DISTANCE          TOTAL    LENGTH OF DAY             TOTAL     AVERAGE          TOTAL AVERAGE         DETe{
                                                                                DISTANCE                           TIME AT SEA SPEED              SPEED
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                                                                            COFFERDAMS                COFFERDARMS
                            RUNNING LIGHTS                                      OR                         OR                                       LOOKOUTS
                                                                            PORT BILGES             STARBOARD BILGES
                               BUR NINO                           NO.          A.M.       P.M.    No.       A.M.   P.M.      HOURS                        NAMES                                                   r
                                                                                                                                                                                                 \'I \JZ I.

 Midnight to
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                            -!Ii.'   0 D ________ A.M.
                               _<'00 P.M. to Midnight
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        ~NJ.I,::;- 1 ) 8 - ~ c_,1-li)µt~
      _ _ _ _ _ _ _ _ _ _ _ _ _ _ FROM


                                                                   REMARKS


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                                                 ENGINE PERFORMANCE
          SPEED    AVERAGE
                              AVERAGE        FUEL OIL      FUEL OIL    FRESHWATER       FRESHWATER       NUMBER
            BY                   SLIP       CONSUMED       ON HAND      CONSUMED          ON HAND        BOJLERS     AVERAGE      DISTANCE      DETENTION
          ENGINE
                    R.P.M.    (PERCENT)     (BARRELS)     (BARRELS)       (TONS)           (TONS)         IN USE       SL!P           BY        STEAMING
                                                                                                                     PERCENT        ENGJNE




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                          / ~ LA\.l.f w,,_ . .




          BALLAST TANKS                                         REFRIGERATION                                           DRAFT OF VESSEL             ~
                                                                           (CARGO)                                     .Z.3""'1'orward
                                                                                                                  Sailing: 3,             d), 3 ,2., Aft
    ------r---c-------r-=::-=--:-::-lf---::--::-:-,c::--:-=:-:-=:-::::.----r---;;;:;::;-;--;=;--;-;:=:-;:;------1            ,
        LAST FILLED      INCHES       TONS        COMPARTMENT                       TEMPERATURE                   Arriving: _ ~_ _ Forward _ _ _ Aft
        ----.J-----i-----1-------+-4-.-::----.---:-::--ir-:--:-:-.---:::-:-:---t Mean _ ___.:./_._.71~6:_......_                 _______
                                                                                   8      12     A.M      P.M.
      j __ __j___--l-----1----1---------4---t---+---l~--t------l A.M. - Forward _ _Aft                                                      Mean
                                                                                                          P.M. - Forward _ _ _Aft            Mean
    ~....i..-__:~--l-----1----11---------t--+--4----+--t---t
                                                                                                                      FUEL OIL AND WATER
                                                            Sailing: Brls. Fuel Oil _ _ Water, Tons _ _
   ......J.---.J..--+----l'----11-------t--+-+---t----lr--1 Arriving: Brls. Fuel Oil _ _ _ Water, Tons ___
   ~ - - . J - - - l - - - - - l - - - - l l - - - - - - - - t - - + - + - - - t - - - - 1 r - - " 1 Received: Brls. Fuel Oil _ _ Water, Tons ___ _




                                                                                                                                             Chief Mate

                                                                                                                                              Mater




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    LOG OF THE S. S.}                                                                                          FROM                                                         TO
                                 M.V.

                                          COURSE                             WIND                               TEMPERATURE
                                                                                                                                       GYRO            STANDARD
                                                                                                                                                                        -
    HOUR              LOG                                                                     BAROMETER                               COMPASS           COMPASS     SOUK-
                                 STANDARD       GYRO     STEERING        DIRECTJON    FORCE                      AIR     WATER           ERROR         DEVIATlON          --··
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    LATlTUDE                   LONGITUDE        COURSE    DISTANCE          TOTAL    LENGTH OF DAY             TOTAL     AVERAGE            TOT AL AVERA GE        DETENl
                                                                            DISTANCE                           TIME AT SEA SPEED                 SPEED
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                            RUNNING LIGHTS

                               BURNING                        NO.
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                                                                        COFFERDAMS
                                                                            OR
                                                                        PORT BILGES
                                                                           A.M.       P.M.    No.
                                                                                                  COFFERDARMS




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                                                                                                       OR
                                                                                                STARBOARD BILGES
                                                                                                        A.M.   P.M.      HOURS
                                                                                                                                                 LOOKOUTS

                                                                                                                                                           NAMES
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